            Case 22-33553 Document 129 Filed in TXSB on 01/27/23 Page 1 of 18




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

            FIRST MONTHLY FEE STATEMENT OF JORDAN & ORTIZ, P.C. FOR
             ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS
                CO-COUNSEL TO THE DEBTOR FOR THE PERIOD FROM
                   DECEMBER 1, 2022 THROUGH DECEMBER 31, 2022

    Name of Applicant:             Jordan & Ortiz, P.C. (“J&O”)
    Applicant’s Role in Case:      Co-Counsel to Debtor
    Date Order of Appointment January 20, 2023 (Dkt #105)
    Signed:
                                       Beginning of Period             End of Period
    Time Period Covered in         12/01/2022                   12/31/2022
    Statement:
                        Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                     $62,460.001
                                                                (80% of $78,075.00)
    Total Reimbursable Expenses Requested in this Statement: $506.652
               Summary Attorney Fees for the Period Covered by this Statement
    Attorneys Fees in this Statement:                           $77,550.00
    Total Actual Attorneys Hours Covered by this Statement: 130.00
    Average Hourly Rate for Attorneys:                          $596.54
            Summary Paraprofessional Fees for the Period Covered by this Statement
    Paraprofessional Fees Requested in this Statement:          $525.00
    Total Actual Paraprofessional Hours Covered by this 2.10
    Statement:
    Average Hourly Rate for Paraprofessionals:                  $250.00




1
  Counsel is holding $146,790.16 as a retainer in its IOLTA Account which is included in this fee/expense request.
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.


                                                       Page 1
       Case 22-33553 Document 129 Filed in TXSB on 01/27/23 Page 2 of 18




               In accordance with the Order Granting Motion for Entry of an Order
               Establishing    Procedures     for   Interim     Compensation      and
               Reimbursement of Expenses for Chapter 11 Professionals [ECF #106],
               each party receiving notice of the monthly fee statement will have 14
               days after service of the monthly fee statement to object to the
               requested fees and expenses. Upon the expiration of such 14 day period,
               the Debtor is authorized to pay the Professional an amount of 80% of
               the fees and 100% of the expenses requested in the applicable monthly
               fee statement.

                                   RELIEF REQUESTED

       1.      This is Jordan & Ortiz, P.C.’s (“J&O”) first monthly fee statement for

compensation (the “Fee Statement”) for the period of December 1, 2022 through December 31,

2022 (the “Fee Period”) filed pursuant to the Order Granting Motion for Entry of an Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses for Chapter

11 Professionals [ECF #106] (the “Interim Compensation Order”). J&O requests: (a) allowance of

compensation in the amount of $62,460.00 (80% of $78,075.00) for actual, reasonable, and

necessary professional services rendered to the Debtor by J&O and (b) reimbursement of actual,

reasonable, and necessary costs and expenses in the amount of $506.65 incurred by J&O during

the Fee Period. By this Fee Statement, J&O seeks interim allowance of compensation for services

rendered and reimbursement of expenses incurred solely in connection with its work performed

on behalf of the Debtor.

              SERVICES RENDERED AND DISBURSEMENTS INCURRED

       2.      Attached above as Exhibit “A” is the Fee Statement for the period December 1,

2022 through December 31, 2022, which includes a summary of professionals who rendered

services to the Debtor during the Fee Period, including each person’s billing rate and the fees

incurred during the Fee Period summarized by task code and the itemized schedule of expenses




                                            Page 2
       Case 22-33553 Document 129 Filed in TXSB on 01/27/23 Page 3 of 18




within each category, including description, incurred with the amounts for which reimbursement

is requested. Attached as Exhibit “B” is a Task Code breakdown by Attorney and Paralegal.

                         NOTICE AND OBJECTION PROCEDURES

       3.      Pursuant to the Interim Compensation Order notice of this Fee Statement has been

provided to:

               a. Debtor Counsel, Crowe & Dunlevy, PC, 2525 McKinnon St, Ste. 425, Dallas,
                  TX 75201 (Attn: Vickie L. Driver, dallaseservice@crowedunlevy.com)

               b. U.S. Trustee c/o/ Ha Minh Nguyen and Jayson ruff, Office of the United States
                  Trustee 515 Rusk St Ste 3516 Houston, TX 77002, ha.nguyen@usdoj.gov,
                  jayson.b.ruff@usdoj.gov

               c. Official Committee of Unsecured Creditors, Akin Gump Strauss Hauer & Feld
                  LLP, One Bryant Park, New York, NY 10036 (Attn: David M. Zensky, Marty
                  L. Brimmage, Jr., Sara L. Brauner and Melanie A. Miller;
                  dzensky@akingump.com,                         mbrimmage@akingump.com,
                  sbrauner@akingump.com, melanie.miller@akingump.com)

               d. Connecticut Plaintiffs, (a) Koskoff & Bieder PC, 350 Fairfield Avenue,
                  Bridgeport, CT 06604 (Attn: Alinor Sterling, ASterling@koskoff.com) and
                  (b) Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the
                  Americas, New York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                  kkimpler@paulweiss.com, msalvucci@paulweiss.com)

               e. Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001 Fannin Street, Suite
                  2700,      Houston,      TX      77002    (Attn:    Avi      Moshenberg,
                  avi.moshenberg@mhllp.com) and (b) Chamberlain, Hrdlicka, White,
                  Williams & Aughtry, PC, 1200 Smith Street, Suite 1400, Houston, TX 77002
                  (Attn: Jarrod B. Martin, Jarrod.Martin@chamberlainlaw.com)

               f. All parties that receive ECF notifications

In light of the nature of the relief requested herein, J&O submits that no further or other notice is

required.

       4.      Pursuant to the Interim Compensation Order (ECF #106), the Notice Parties and

parties in interest have 14 days after service of the Monthly Fee Statement to object to the requested

fees and expenses. If any Notice Party, or any other party in interest, objects to a Retained



                                               Page 3
         Case 22-33553 Document 129 Filed in TXSB on 01/27/23 Page 4 of 18




Professional’s Monthly Fee Statement, it must serve on the affected Retained Professional and

each of the other Notice Parties a written objection (the “Objection”) so that it is received on or

before the Objection Deadline. Thereafter, the objecting party and the affected Retained

Professional may attempt to resolve the Objection on a consensual basis. If the parties are unable

to reach a resolution of the Objection within 14 days after service of the Objection, or such later

date as may be agreed upon by the objecting party and the affected Retained Professional, the

affected Retained Professional may either: (i) file a response to the Objection with the Court,

together with a request for payment of the difference, if any, between the Maximum Payment and

the Authorized Payment made to the affected Retained Professional (the “Incremental Amount”)

and schedule such matter for hearing on at least 14 days’ notice; or (ii) forego payment of the

Incremental Amount until the next interim or final fee application hearing, at which time the Court

will consider and dispose of the Objection if requested by the affected Retained Professional.

Failure by a Notice Party, or any other party in interest, to object to a Monthly Fee Statement shall

not constitute a waiver of any kind nor prejudice that party’s right to object to any Interim Fee

Application (as defined below) subsequently filed by a Retained Professional.

         5.    Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. J&O reserves the right to

make further application to this Court for allowance of such fees and expenses not included herein,

or correct and erroneous or errors set out herein. Subsequent Monthly Fee Statements will be filed

in accordance with the Bankruptcy Code, the Bankruptcy Rules, and the Interim Compensation

Order.

         WHEREFORE, pursuant to the Interim Compensation Order, and pending the expiration




                                            Page 4
       Case 22-33553 Document 129 Filed in TXSB on 01/27/23 Page 5 of 18




of the objection deadline, if no objections to the Fee Statement are received, J&O respectfully

requests: (a) that it be allowed on an interim basis (i) $62,460.00 (80% of fees in the amount of

$78,075.00) for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and (ii) reimbursement of $506.65 for reasonable, actual and necessary

expenses incurred during the Fee Period; (b) that the Debtor be authorized and directed to

immediately pay to J&O the amount of $62,966.65 which is equal to the sum of 80% of J&O’s

fees and 100% of J&O’s expenses incurred during the Fee Period, and (c) and granting such other

and further relief as the Court may deem just and proper.

Dated: January 27, 2023

                                             /s/ Shelby A. Jordan
                                             SHELBY A. JORDAN
                                             State Bar No. 11016700
                                             S.D. No. 2195
                                             ANTONIO ORTIZ
                                             State Bar No. 24074839
                                             S.D. No. 1127322
                                             Jordan & Ortiz, P.C.
                                             500 North Shoreline Blvd., Suite 900
                                             Corpus Christi, TX 78401
                                             Telephone: (361) 884-5678
                                             Facsimile: (361) 888-5555
                                             Email: sjordan@jhwclaw.com
                                                     aortiz@jhwclaw.com
                                             Copy to: cmadden@jhwclaw.com
                                             CO-COUNSEL FOR DEBTOR




                                           Page 5
       Case 22-33553 Document 129 Filed in TXSB on 01/27/23 Page 6 of 18




                               CERTIFICATE OF SERVICE

I certify that on January 27, 2023, a true and correct copy of the foregoing pleading was served
upon the parties listed on the attached service list via the Court’s ECF system and pursuant to
Local Rule 9003-1, via e mail or U.S. mail as follows:

              a. Debtor Counsel, Crowe & Dunlevy, PC, 2525 McKinnon St, Ste. 425, Dallas,
                 TX 75201 (Attn: Vickie L. Driver, dallaseservice@crowedunlevy.com)

              b. U.S. Trustee c/o/ Ha Minh Nguyen and Jayson ruff, Office of the United States
                 Trustee 515 Rusk St Ste 3516 Houston, TX 77002, ha.nguyen@usdoj.gov,
                 jayson.b.ruff@usdoj.gov

              c. Official Committee of Unsecured Creditors, Akin Gump Strauss Hauer & Feld
                 LLP, One Bryant Park, New York, NY 10036 (Attn: David M. Zensky, Marty
                 L. Brimmage, Jr., Sara L. Brauner and Melanie A. Miller;
                 dzensky@akingump.com,                         mbrimmage@akingump.com,
                 sbrauner@akingump.com, melanie.miller@akingump.com)

              d. Connecticut Plaintiffs, (a) Koskoff & Bieder PC, 350 Fairfield Avenue,
                 Bridgeport, CT 06604 (Attn: Alinor Sterling, ASterling@koskoff.com) and
                 (b) Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the
                 Americas, New York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                 kkimpler@paulweiss.com, msalvucci@paulweiss.com)

              e. Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001 Fannin Street, Suite
                 2700,      Houston,      TX      77002    (Attn:    Avi      Moshenberg,
                 avi.moshenberg@mhllp.com) and (b) Chamberlain, Hrdlicka, White,
                 Williams & Aughtry, PC, 1200 Smith Street, Suite 1400, Houston, TX 77002
                 (Attn: Jarrod B. Martin, Jarrod.Martin@chamberlainlaw.com)

              f. All parties that receive ECF notifications


                                            /s/ Shelby A. Jordan
                                                Shelby A. Jordan




                                          Page 6
Case 22-33553 Document 129 Filed in TXSB on 01/27/23 Page 7 of 18




                         EXHIBIT “A”

    JORDAN & ORTIZ, P.C. DECEMBER INVOICE FOR PERIOD
       DECEMBER 1, 2022 THROUGH DECEMBER 31, 2022




                            Page 7
                   Case 22-33553 DocumentJORDAN & ORTIZ,
                                          129 Filed      P.C. on 01/27/23 Page 8 of 18
                                                    in TXSB
                                          500 N. SHORELINE BLVD, SUITE 900
                                         CORPUS CHRISTI, TEXAS 78401-0341
                                                 TAX ID NO. XX-XXXXXXX
                                                    (361) 884-5678




                                                                                                                         Page: 1
      JONES, ALEX                                                                                               January 27, 2023
      alexejones1777@gmail.com                                                                      Account No:   5481-002000M
                                                                                                  Statement No:          922199




      Bankruptcy




                                                                                                             Hours
12/02/2022   CRM B110      A103 Draft/revise notice of appearance for Shelby Jordan as counsel
                                for Alex Jones; file same.                                                    0.50

             SAJ    B110   A108 Conference with C&D on all pending issues of filing and emails
                                discussing filing and review final documents; conference with
                                client for final approval; telephone conference with client and in
                                office regarding filing approval; telephone conference with
                                client and in office regarding filing and filing statements and
                                schedules; work on statement to employees regarding Ch 11
                                filing (2.0); work on audience statement for TAJ show (0.2);
                                discuss status of filing of notice an initial status conference and
                                notices (work on matrix issues and parties in interest) with
                                client appearing (1.3); work on gathering all documents,
                                scheduling Monday for meeting with CRO and parties having
                                books and records; telephone meeting with Bob Roe; work on
                                documents for Monday schedule for meeting with co-counsel in
                                Austin (2.7).                                                                 6.20

             SAJ    B190   A107 Conference with Pattis regarding status of judgment and
                                appellate timing (0.5); emails to and from Texas trial counsel
                                (0.4); receive and review new Conn pleadings; work on
                                conflicts of law and conflicts of threatened sua sponte seizure
                                over parties not before the Conn court (Jones affiliates as
                                "property of the estate") (0.6); work on notice of auto stay
                                regarding entry of agreed lift stay to coordinate with FSS and its
                                agreed lift stay to coordinate appellate timelines and deadlines
                                (0.6).                                                                        2.10

12/03/2022   SAJ    B110   A103 Work on draft V1 and V2 of Debtor's Initial Status Report;
                                emails to new CRO, co-counsel regarding Monday schedule
                                and meeting arranged for preparation of accounting and
                                schedules and for initial status report and initial status
                                conference with Court (3.0); review recent new quotes from
                                Plaintiffs counsel for appeal (0.8); begin to work on issues of
                                debtor pre-petition draws and asset schedules for net worth
                                (1.0).                                                                        4.80

12/04/2022   SAJ    B410   A106 Meeting with client; work on issues regarding all bank accounts
                   Case 22-33553 Document 129 Filed in TXSB on 01/27/23 Page 9 of 18                                      Page: 2
      JONES, ALEX                                                                                                January 27, 2023
                                                                                                     Account No:   5481-002000M
                                                                                                   Statement No:          922199
      Bankruptcy




                                                                                                              Hours
                                  and meeting with PQPR to understand access and working
                                  relationship to all accounts; call to ESG regarding status and
                                  timing of post-petition work (1.0); work on issues of DIP
                                  conduct and accounting with client (0.6)                                     1.60

             SAJ    B120   A104 Continue to work on organizing assets and affiliate entities and
                                affiliate entities for new CRO and gather information on all
                                affiliate entities transactions and compare to
                                discovery/deposition review to assure thoroughness.                            2.00

             SAJ    B310   A103 Work on claims bar date and circulate to co-counsel with
                                proposed order (0.5); work on claims analysis issues and plan
                                confirmation issues (1.0); estimation and claims bar dates
                                process and procedures (0.3); work on status report for court
                                on administrative claims of debtor due from FSS (0.5).                         2.30

             SAJ    B210   A108 Conference with PQPR regarding all affiliate and related bank
                                accounts and business records.                                                 0.65

12/05/2022   SAJ    B110   A107 Conference with co-counsel on all asset issues and accounting
                                issues involving schedules and statements of affairs, listing of
                                assets including opportunities; download multiple files and
                                discuss with CRO team regarding initial accounting and
                                analysis of actual net worth, schedules or draws (checking for
                                actual business expenses designated as a draw; prepare edits
                                to initial status conference reports and circulate; work on
                                demonstrative of draws and average draws per year.                             2.40

             SAJ    B210   A106 Conference with client regarding bank accounts; call and
                                arrange appointment and conference call with Bob Roe
                                regarding meeting schedule tomorrow and accounting issues to
                                meet with CRO team.                                                            0.65

             SAJ    B410   A106 Conference with client regarding all current operations and
                                issues of DIP; how to deal with post-petition ESG agency and
                                accomplish regarding past, current and future investment in
                                inventory purchases for consignment to FSS; how to organize
                                bank accounts and how to insure accurate inventory for storage
                                rooms with property of the estate; work on scheduling inventory
                                and appraisal issues; set up meeting with Debtor and new
                                CRO.                                                                           2.00

             SAJ    B185   A107 Conference with co-counsel regarding salary contract,
                                indemnity and motion to assume or reject executory contracts
                                including employment agreement (0.2); conference with
                                Battaglia regarding salary budget expenses adjustment and
                                timing and indemnity agreement (0.2).                                          0.40

             SAJ    B190   A103 Work on pleading for estimation of claims; prepare and
                                circulate memo in connection with issues of discharge.                         0.60

             SAJ    B190   A104 Work on an respond to suggestion of bankruptcy filed in Travis
                   Case 22-33553 Document 129 Filed in TXSB on 01/27/23 Page 10 of 18                                     Page: 3
      JONES, ALEX                                                                                                January 27, 2023
                                                                                                     Account No:   5481-002000M
                                                                                                   Statement No:          922199
      Bankruptcy




                                                                                                              Hours
                                  County and pull research and update holding not an
                                  appearance in the removed case; pull research and send to
                                  parties and Plaintiffs counsel that notice only is required to
                                  invoke the automatic stay; conference with Andino Reynal
                                  regarding his appellate issues.                                              1.40

             SAJ    B185   A106 Conference with client regarding status of expectancy.                         0.40

12/06/2022   SAJ    B110   A106 Meeting with client and CRO; meeting with co-counsel and
                                CRO; conference with client in office regarding handling and
                                accounting for all cash, handling payment of bills and accurate
                                reporting of all credit card charges; handling contracts and new
                                contract opportunities (2.8); conference with Bob Roe regarding
                                historical operations, historical records; other accounting issues
                                (0.6); review and circulate email and memo on Rule 2019(b)
                                BRP to require all counsel representing more than one client to
                                file verified statement (0.5)                                                  3.90

             SAJ    B120   A103 Work on debtor asset summaries and conference with CRO
                                regarding appraisals to the Ranch and Lake Travis house.                       0.20

             SAJ    B140   A107 Conference with co-counsel regarding motion for relief from
                                stay regarding FSS stay through entry of judgment and impact
                                on creating two appeal proceedings.                                            0.50

             SAJ    B185   A104 Work on issues of default by FSS and enforcement of Debtor's
                                employment contract with FSS; review draft for edits;
                                conference with debtor.                                                        0.80

             SAJ    B190   A103 Circulate detailed memo on 5th Circuit case regarding final
                                judgments only; pull authority that a Federal court case filing
                                included a bankruptcy or a contested matter objection to a
                                claim or seeking estimation of claims and determining
                                discharge actions. Begin outline for mediation statement
                                including these points.                                                        2.70

             SAJ    B190   A104 Work on and research appellate issues for state court stay
                                issues; circulate to co counsel along with research on filing
                                suggestion of bankruptcy and non-appearance in case; pull and
                                forward case for violation of auto stay for any non-ministerial
                                action by court or parties and liability of counsel in removal.                1.10

12/07/2022   CRM B190      A109 Prepare, appear (remotely) and attend status conference.                       0.60

             SAJ    B110   A109 Houston meeting with Liz Freeman; meeting with co-counsel;
                                prepare and attend hearing on initial status conference;
                                conference with client regarding status report (no travel
                                included); post hearing telephone conference with client and
                                co-counsel.                                                                    3.30

             SAJ    B310   A104 Research and memo preparation regarding standard of proof
                                and mediation statement inclusion; analysis of each cause of
                   Case 22-33553 Document 129 Filed in TXSB on 01/27/23 Page 11 of 18                                  Page: 4
      JONES, ALEX                                                                                             January 27, 2023
                                                                                                  Account No:   5481-002000M
                                                                                                Statement No:          922199
      Bankruptcy




                                                                                                           Hours
                                  action in Texas and Conn compensatory damages and default;
                                  for each of Texas and Conn punitive damages standard of
                                  proof; impact of limitations on standard of proof.                        3.10

             SAJ    B195   A109 Trip to Houston to attend status conference (billed at half).               2.60

12/08/2022   SAJ    B110   A106 Conference with client regarding status of donations accounts
                                and assure account handling and deposit in DIP account.                     0.70

             SAJ    B120   A104 Continue to review of documents for schedules and
                                statements; emails to new CRO and two meeting with debtor to
                                organize and document various assets and asset opportunities
                                with "brand" and with affiliates.                                           2.00

             SAJ    B140   A107 Conference with Battaglia and work on issues of appeal and
                                entry of judgments coordinated between the two debtors to
                                avoid two-track appeal in same case.                                        0.80

             SAJ    B190   A107 Conference with Norm Pattis regarding status of appeal issues
                                for Conn appeal and status of retainer and costs to be incurred.            0.40

             SAJ    B110   A107 Conference with Norm Pattis regarding status of contribution
                                account and location and turn over to estate.                               0.70

             SAJ    B210   A103 Work on DIP budget issues and stop charges by FSS to DIP
                                account for internet access.                                                0.70

             SAJ    B110   A107 Email to CRO; call and emails to co-counsel regarding pull
                                down hearing on salary; prepare for hearings on 16th and 19th
                                and 341 meeting.                                                            0.70

12/09/2022   SAJ    B110   A107 Telephone conference with co-counsel to prepare for next
                                week work by CRO with debtor; discuss next Friday hearing
                                and planning, strategy, zoom and related issues.                            1.30

             SAJ    B120   A104 Work on 2017 to current asset and asset
                                opportunities-transactions for valuation and scheduling.                    1.20

             SAJ    B310   A103 Prepare V1 memo on claims estimation/dischargeability and
                                full review and determination of "claims" non-tort (Defamation
                                and bankruptcy court's jurisdiction to determine) and intentional
                                infliction as a personal injury claim; work on mediation
                                statement V8.                                                               3.60

             SAJ    B190   A103 Work on V9 of mediation statement and summary of BR
                                strategy; circulate.                                                        2.40

12/10/2022   SAJ    B190   A103 Work on V10 of mediation statement section on summary and
                                strategy of debtor's Chapter 11 case; incorporate edits and
                                changes from co-counsel.                                                    2.20

12/12/2022   SAJ    B110   A106 Conference with client regarding week scheduling, meeting
                   Case 22-33553 Document 129 Filed in TXSB on 01/27/23 Page 12 of 18                                   Page: 5
      JONES, ALEX                                                                                              January 27, 2023
                                                                                                   Account No:   5481-002000M
                                                                                                 Statement No:          922199
      Bankruptcy




                                                                                                            Hours
                                  regarding additional information on assets and transactions;
                                  review of last two depositions referencing assets.                         1.60

             SAJ    B110   A107 Conference with Steve Lemmon regarding access to PQPR
                                information; conference with co-counsel regarding same.                      0.70

             SAJ    B190   A103 Continue to work on V10 mediation statement and issues to be
                                discussed with mediator; work on scheduling mediator call and
                                zoom regarding going forward after Plaintiffs mediator meeting;
                                request for conference call with mediator.                                   3.70

12/13/2022   SAJ    B120   A107 Conference with co-counsel regarding meeting with debtor and
                                asset analysis; work on recovery of deposition of debtor
                                regarding testimony about assets, property, affiliates.                      1.00

             SAJ    B190   A103 Continue to work on mediation statement; conference with
                                Pattis regarding depositions and current status of issues;
                                continue work on research; schedule zoom conference with
                                mediator and emails to Ray Battaglia and co-counsel regarding
                                timing and attendance; attend zoom conference with mediator.                 4.10

12/14/2022   SAJ    B110   A106 Conference with client regarding hacking and disclosures;
                                discuss with client and Battaglia seeking bankruptcy court relief
                                for hacked and stolen confidential information; determine
                                damages, if any, by third parties attempting de-platforming as a
                                violation of the automatic stay.                                             0.85

             SAJ    B110   A107 Conference with co-counsel; conference with consignment
                                lender rep; conference with FSS counsel and request
                                conference with FSS CRO.                                                     0.85

             SAJ    B190   A107 Discuss with co-counsel and debtor the appeal strategy and
                                modification to allow appeals to proceed.                                    0.30

             SAJ    B120   A107 Meeting and discussions continued efforts at asset and liability
                                discovery analysis with co-counsel, financial advisor, debtor.               1.70

             SAJ    B150   A104 Review appointment of creditors committee and compare to
                                memo of Conn v Texas Plaintiffs (circulate).                                 0.15

             SAJ    B150   A106 Conference with client on committee function, make-up and
                                representation.                                                              0.15

             SAJ    B185   A103 Work on FSS contracts regarding $900,000 due debtor from
                                FSS post-petition for the purchase of product to be sold; work
                                on contracts potential for celebrity endorsements and celebrity
                                endorsements.                                                                0.90

             SAJ    B185   A107 Conference with ESG; review details for third party promoted
                                products.                                                                    0.90

             SAJ    B190   A103 Continue to work on mediation statement V11 and prepare
                   Case 22-33553 Document 129 Filed in TXSB on 01/27/23 Page 13 of 18                                 Page: 6
      JONES, ALEX                                                                                            January 27, 2023
                                                                                                 Account No:   5481-002000M
                                                                                               Statement No:          922199
      Bankruptcy




                                                                                                          Hours
                                  initial statement for service on mediator.                               2.20

12/15/2022   SAJ    B140   A107 Review and comment on order for lift stay agreement with Akin
                                Gump to coordinate entry of judgments for appeal purposes;
                                email to Andino regarding attorneys fees and appeals and
                                employment.                                                                0.60

             SAJ    B320   A104 Review and comment on cash collateral and issues of
                                executory contract concerns; send demonstrative on potential
                                post-petition contracts including celebrity endorsement income
                                and reporting all sources of income in MOR and to estate.                  1.00

             SAJ    B190   A103 Draft/revise summary for mediation after conference with
                                mediator; work on driving issue in mediation; secondary issue
                                of claims objections; and other mediation issues; begin update
                                to V11.                                                                    2.40

12/16/2022   SAJ    B110   A104 Review/analyze and comment on witness list and related
                                exhibits including new budget and does not deal with salary.               1.00

             SAJ    B185   A103 Draft/revise and circulate demonstrative on post petition
                                contract negotiations and request a copy of Celebrity
                                Endorsement contract.                                                      1.00

             SAJ    B160   A107 Notice to Norm Pattis (Conn appeal counsel) that fee is likely to
                                be hourly; cc: Driver; conference with Pattis.                             0.40

             AO     B110   A105 Conference with Shelby Jordan regarding preparation for
                                hearing on 12/19.                                                          0.60

12/19/2022   SAJ    B110   A103 Prepare the initial debtor's conference form and circulate;
                                prepare and attuned with debtor and co-counsel the initial
                                debtor's conference.                                                       1.20

             SAJ    B410   A106 Meeting with client and co-counsel; work on all outstanding
                                administrative and reporting issues dealing with new financial
                                advisors requests; discuss and review the MOR filings by FSS
                                and discuss the confusing issues created by the delayed
                                accounting and systems of FSS CRO; discuss issues with the
                                FSS CRO Patrick McGill (1.4); call from Ray Battaglia
                                regarding cash collateral in FSS and discuss with client the
                                continued refusal to restore the contract rate salary (0.4).               1.80

             SAJ    B140   A101 Prepare with client and co-counsel regarding hearings on cash
                                collateral motion and prepare debtor on responses to Court's
                                questions, if nay, at hearing.                                             2.60

             SAJ    B140   A106 Meeting with client and review issue of relief from stay,
                                payment of percent of costs of appeal by this estate and by
                                FSS and discuss reference to appellate counsel and
                                restrictions on fees and alternatives if cash flow cannot be
                                maintained.                                                                1.00
                   Case 22-33553 Document 129 Filed in TXSB on 01/27/23 Page 14 of 18                                  Page: 7
      JONES, ALEX                                                                                             January 27, 2023
                                                                                                  Account No:   5481-002000M
                                                                                                Statement No:          922199
      Bankruptcy




                                                                                                           Hours

             SAJ    B160   A103 Work on Jordan & Ortiz application to employ and prepare for
                                filing.                                                                     0.80

             SAJ    B190   A103 Finish intro of V12 mediation statement and circulate to
                                co-counsel.                                                                 0.80

             AO     B110   A105 Attend hearings and prepare memo for circulation.                           3.00

12/20/2022   SAJ    B210   A107 Conference regarding FSS and operations for Oct Nov 2022;
                                discussion of operations and disclosures of extremely
                                confidential information; morning debtor conference regarding
                                impact of confidential disclosures and impact of Debtor's estate
                                by deplatforming; work on status of FSS and its CRO and
                                decisions to deal operations and employment agreement;
                                requested accounting budgeting for January and February.                    2.60

             SAJ    B160   A103 Prepare final draft of Fee Application and circulate; work on
                                interim order for fee payments.                                             2.30

             SAJ    B180   A107 Request FSS action to seek preference payments and issues
                                to be raised in mediation; discuss and determine whether
                                funding of cash by Jones pre-petition as basis of preference by
                                Jones estate; research punitive preference payments.                        1.70

12/21/2022   CRM B160      A103 Review and revise Shelby Jordan fee application, order and
                                declaration; file and serve same.                                           1.00

             SAJ    B210   A106 Review/analyze email from Zensky regarding donations; emails
                                to debtor forwarding; conference with debtor and emails to
                                co-counsel on information gathering and outline of response;
                                review with Pattis donation accounts and accounting.                        1.20

             SAJ    B160   A103 Finalize and file retention application for Jordan & Ortiz.                 0.80

             SAJ    B160   A106 Conference with client regarding interim payments and income
                                funding; emails to co-counsel to prepare FSS form of interim
                                compensation; send word version.                                            1.00

             SAJ    B185   A101 Work on preparation for hearing on executory employment
                                contract of Jones with FSS; send full financial summary of
                                pre-payments by Jones of FSS expenses without
                                reimbursements; work on issues of Jones administrative
                                expense claims of FSS; send memo on "indemnity" set out in
                                employment agreement and issue of statutory right to
                                indemnity.                                                                  2.40

12/22/2022   SAJ    B190   A103 Work on mediation issues outline for inclusion in mediation
                                statement V13.                                                              1.30

             SAJ    B310   A107 Conference with co-counsel regarding hearing conflict on
                                salary issues and other client mediation; forward outline of
                   Case 22-33553 Document 129 Filed in TXSB on 01/27/23 Page 15 of 18                                 Page: 8
      JONES, ALEX                                                                                            January 27, 2023
                                                                                                 Account No:   5481-002000M
                                                                                               Statement No:          922199
      Bankruptcy




                                                                                                          Hours
                                  proof on debtor background and administrative claims due by
                                  FSS to Jones including travel, advances for Conn trial and for
                                  consignment, etc.                                                        2.70

12/23/2022   SAJ    B110   A106 Review PQPR sales reconciliation and discuss with client
                                issues of accounting and reporting; discuss status of
                                consignment of Platinum products to be sold by FSS and how
                                disbursements of those proceeds will be handled including
                                ESG agent handling.                                                        1.30

             SAJ    B110   A104 Email and review the notice of hearing docket 76 for
                                assumption/rejection of employment agreement.                              0.30

             SAJ    B160   A103 Complete declaration of disclosure of fees paid in year before
                                bankruptcy; work on final copies of fee application and final
                                draft of interim fee payments; filing.                                     1.10

             SAJ    B190   A107 Conference with Norm Pattis regarding appellate points, status
                                of appeal issues and status of notice of appeal post judgment;
                                edits and thoughts sent to Pattis.                                         1.00

             SAJ    B190   A105 Conference with client regarding appeal and texas appeal;
                                receive and review memorandum of decision entered by Judge
                                Belis in Connecticut and discuss with debtor.                              1.00

             SAJ    B190   A107 Email to co-counsel regarding Rule 2004 examination and
                                Zensky demands and regarding Rule 2004 notice; gather and
                                forward to co-counsel the documents previously furnished to
                                the Sub-V Trustee voluntarily marked "Mediation Privileged"                1.80

12/27/2022   SAJ    B210   A107 Zoom conference call with DIP lender attorney and co-counsel;
                                review and discuss mediation ordered and the extension of
                                FSS dischargeability deadline and both documents application
                                to debtor.                                                                 1.20

             SAJ    B410   A107 Email and conference with co-counsel regarding publication of
                                deposition testimony by Plaintiffs and request of Committee
                                Counsel to assist in pulling down.                                         0.30

             SAJ    B120   A104 Review/analyze and verify return of quitclaim deeds and title to
                                Jones of the Travis Lake House and the Guadalupe County
                                124 Acres from the 2022 appeal bond trust; forward to financial
                                officers for inclusion in schedules; verify filing in the deed
                                records for return of assets to the estate.                                0.60

             SAJ    B160   A107 Reply to email from co-counsel regarding UST question about
                                J&O representation of any parties in interest to Jones "in other
                                matters"; email to co-counsel; reply none in any matter.                   0.20

             SAJ    B190   A107 Email and conference with co-counsel on mediation order that
                                must be approved by Plaintiffs counsel.                                    0.30
                   Case 22-33553 Document 129 Filed in TXSB on 01/27/23 Page 16 of 18                                   Page: 9
      JONES, ALEX                                                                                              January 27, 2023
                                                                                                   Account No:   5481-002000M
                                                                                                 Statement No:          922199
      Bankruptcy




                                                                                                              Hours
             SAJ    B310   A104 Review/analyze status of loan and debtor's guaranty with
                                security state bank of crawford; conference with client; request
                                copies of loan documents and location of loan collateral
                                (Winnebago travel vehicle).                                                     0.40

12/28/2022   SAJ    B110   A103 Work on outline of issues to consider in salary motion and
                                evidence; work on issue of confidentiality to avoid matters of
                                production sent to the news and press; email to and from
                                co-counsel regarding need for confidentiality agreement in
                                response to David Zensky.                                                       1.00

             SAJ    B410   A104 Review/analyze order on FSS extension of the deadline for
                                dischargeability; send email to co-counsel regarding
                                preparation for V13 outline of all issues for mediation
                                statement.                                                                      0.50

             SAJ    B160   A107 Respond to UST questions about related party of affiliate
                                representation (response, none).                                                0.70

             SAJ    B180   A107 Emails to co-counsel and Battaglia regarding need to consider
                                bringing the avoidance actions.                                                 0.60

             SAJ    B190   A104 Review/analyze two orders sent by Akin Gump on mediation;
                                send edit thoughts to co-counsel; work on dischargeability
                                research section for mediation statement V14.                                   1.00

12/30/2022   SAJ    B210   A107 Conference with co-counsel update and discussion of all
                                pending matters; email to debtor; call to debtor.                               1.00
                                  For Current Services Rendered                                               132.10   78,075.00

                                                      Recapitulation
  Timekeeper                                    Title                              Hours               Rate             Total
  SHELBY A. JORDAN                              Partners                          126.40            $600.00        $75,840.00
  ANTONIO ORTIZ                                 Partners                            3.60             475.00          1,710.00
  CHRYSTAL MADDEN                               Paralegals                          2.10             250.00            525.00




12/30/2022          B110   E111 12/5/22 - The Grove - Working lunch for Crissie Stephenson, Vickie
                                Driver, Harold Kessler, Allison Gerard                                                    126.04
12/30/2022          B110   E111 12/6/22 - Panera - Working lunch for Crissie Stephenson, Vickie
                                Driver, Harold Kessler, Bob Schleizer, Shelby Jordan, Allison Gerard                      199.85
12/31/2022          B110   E112 CSC - Recording Fees for Travis Co and Guadalupe County                                    91.98
12/31/2022          B110   E124 Parking - Hearing in Travis Co                                                             15.00
12/31/2022          B110   E132 Bankruptcy Photocopies (.20 per page)                                                       7.30
12/31/2022          B110   E124 Computer Research - Lexis                                                                  66.48
                                  Total Expenses                                                                          506.65

                                  Total Current Work                                                                   78,581.65
                     Case 22-33553 Document 129 Filed in TXSB on 01/27/23 Page 17 of 18                                  Page: 10
       JONES, ALEX                                                                                               January 27, 2023
                                                                                                     Account No:   5481-002000M
                                                                                                   Statement No:          922199
       Bankruptcy




                                     Balance Due                                                                      $78,581.65

                                                      Task Code Summary
                                                                                                             Fees       Expenses
B110    Case Administration                                                                               21515.00        506.65
B120    Asset Analysis and Recovery                                                                        5220.00          0.00
B140    Relief from Stay/Adequate Protection Proceedings                                                   3300.00          0.00
B150    Meetings of and Communications with Creditors                                                       180.00          0.00
B160    Fee/Employment Applications                                                                        4630.00          0.00
B180    Avoidance Action Analysis                                                                          1380.00          0.00
B185    Assumption/Rejection of Leases and Contracts                                                       4080.00          0.00
B190    Other Contested Matters (excluding assumption/rejection motions)                                  19830.00          0.00
B195    Non-Working Travel                                                                                 1560.00          0.00
B100    Administration                                                                                   61,695.00        506.65

B210    Business Operations                                                                                4800.00           0.00
B200    Operations                                                                                        4,800.00           0.00

B310    Claims Administration and Objections                                                               7260.00           0.00
B320    Plan and Discosure Statement (including Business Plan)                                              600.00           0.00
B300    Claims and Plan                                                                                   7,860.00           0.00

B410    General Bankruptcy Advice/Opinions                                                                 3720.00           0.00
B400    Bankruptcy-Related Advice                                                                         3,720.00           0.00




                                                 Your trust account #1 balance is

                               Opening Balance                                                       $146,790.16
                               Closing Balance                                                       $146,790.16




                                     *The entry N/C signifies time spent for which there will be no charge.*
     Case 22-33553 Document 129 Filed in TXSB on 01/27/23 Page 18 of 18




                                     EXHIBIT “B”

                                     TASK CODES

CATEGORIES                                  ATTORNEY TIME   PARALEGAL TIME

B110 Case Administration                          36.40          0.50
B120 Asset Analysis and Recovery                   8.70
B130 Asset Disposition                             0.00
B140 Relief from Stay/Adequate
Protection                                        5.50
B150 Meetings of & Communications with
Creditors                                         0.30
B160 Fee/Employment Applications                  7.30           1.00
B170 Fee/Employment Objections
B180 Avoidance Action Analysis                    2.30
B185 Assumption/Rejection of Executory
Contracts                                          6.80
B190 Other Contested Matters                      32.80          0.60
B195 Non-Working Travel                            2.60
B210 Business Operations                           8.00
B220 Employee Benefits/Pensions                    0.00
B230 Financing/Cash Collections                    0.00
B240 Tax Issues                                    0.00
B250 Real Estate                                   0.00
B260 Board of Directors Matters                    0.00
B310 Claims Administration and
Objections                                        12.10
B320 Plan and Disclosure Statement                 1.00
B410 General Bankruptcy
Advice/Opinions                                   6.20
B420 Restructurings
TOTALS:                                         130.00           2.10




                                       Page 8
